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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 NUVASIVE, INC.                           )
                                          )
                                          )
      Plaintiff,                          )        Case No.:
                                          )        6:17-cv-2206-Orl-41GJK
 VS                                       )
                                          )
                                          )
 ABSOLUTE MEDICAL, LLC, ABSOLUTE          )
 MEDICAL SYSTEMS, LLC, GREG               )
 SOUFLERIS, DAVE HAWLEY, and              )
 RYAN MILLER                              )
                                          )
      Defendant,                          )
 _________________________________________)

     DEFENDANTS DAVE HAWLEY, RYAN MILLER, AND ABSOLUTE
    MEDICAL SYSTEMS, LLC’S MOTION FOR SUMMARY JUDGMENT
         AND INCORPORATED MEMORANDUM IN SUPPORT
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 NUVASIVE, INC.                           )
                                          )
                                          )
      Plaintiff,                          )           Case No.:
                                          )           6:17-cv-2206-Orl-41GJK
 VS                                       )
                                          )
                                          )
 ABSOLUTE MEDICAL, LLC, ABSOLUTE          )
 MEDICAL SYSTEMS, LLC, GREG               )
 SOUFLERIS, DAVE HAWLEY, and              )
 RYAN MILLER                              )
                                          )
      Defendant,                          )
 _________________________________________)

     DEFENDANTS DAVE HAWLEY, RYAN MILLER, AND ABSOLUTE
    MEDICAL SYSTEMS, LLC’S MOTION FOR SUMMARY JUDGMENT
         AND INCORPORATED MEMORANDUM IN SUPPORT
       COME NOW, Defendants Dave Hawley, Ryan Miller, and Absolute Medical

 Systems, LLC, and pursuant to Federal Rules of Civil Procedure 56, moves this

 Court for Summary Judgment against Plaintiff NuVasive, Inc. (“NuVasive”) and

 shows this Court as follows:

              INTRODUCTION AND STATEMENT OF FACTS

       Defendant Absolute Medical, LLC (“Absolute Medical”) was in the business

 of promoting, marketing and selling medical products and devices on behalf of

 Plaintiff NuVasive, Inc. (“NuVasive”) to hospitals and doctors throughout central


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 Florida. (Doc. 38-1, Declaration of Greg Soufleris (“Soufleris Dec.”) at ¶ 2.)

 Absolute Medical and NuVasive entered into an initial Exclusive Sales

 Representative Agreement dated February 14, 2013 (hereafter “2013 Distributorship

 Agreement”), which, among other things, outlined the products to be sold (Doc. 38-

 1, at Ex. A), the exclusive territory for operations (Doc. 38-1, at Ex. B), the

 commission structure (Doc. 38-1, at Ex.’s C and D), the independent contractor

 relationship of the parties (Section 2.3), the term (Section 11), and certain restrictive

 covenants (Section 6.13). (Doc. 68-2.) Absolute Medical and NuVasive entered into

 a final Exclusive Sales Representative Agreement on January 1, 2017 (hereafter

 “2017 Distributorship Agreement”) with similar terms as the 2013 Distributorship

 Agreement but with a revised commission structure and a new five (5) year term.

 (Doc. 19-1.) As contemplated by these Distributorship Agreements, Absolute

 Medical hired sales representatives to assist with fulfilling its contractual duties and

 meeting its sales quotas. (Doc. 38-1 at ¶ 5.)

                                      Dave Hawley

       In February 2013, Absolute Medical contracted with Defendant Dave Hawley

 under a 2013 Independent Contractor Agreement for the sale of NuVasive product

 in a defined territory in and around Orange County, Florida (“2013 Hawley

 Agreement”). (Dave Hawley Declaration (“Hawley Dec.”) attached hereto as Ex. A,

 at ¶ 3 and Ex. 2.) The 2013 Hawley Agreement was executed by Dave Hawley

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 individually and all obligations therein were assumed and agreed to by Dave Hawley

 individually. (Hawley Dec. attached as Ex. A at ¶ 4.) The 2013 Hawley Agreement

 contains no language, express or otherwise, that it was made for the benefit of a

 third-party beneficiary or could be enforced by any third-party beneficiary. (Id. at ¶

 5.)

       The 2013 Hawley Agreement was terminated in 2014 when Hawley Med,

 LLC1 entered into an Independent Contractor Agreement dated January 1, 2014

 (“2014 Hawley Med Agreement”) for sale of NuVasive products in Orange County,

 Florida but with an amended commission structure from the 2013 Hawley

 Agreement. (Id. at Ex. 3.) The 2014 Hawley Med Agreement identifies Absolute

 Medical, Inc. as the “distributor” but was never executed by Absolute Medical, LLC

 or Absolute Medical, Inc. (Id. at ¶ 6.) The 2014 Hawley Med Agreement specifically

 identifies Hawley Med, LLC as the contracting party or “salesperson”, was executed

 by Dave Hawley on behalf of Hawley Med, LLC, was solely performed by Hawley

 Med, LLC, all commission payments thereunder were made solely to Hawley Med,


 1
  Dave Hawley is the managing member of Hawley Med, LLC. Hawley Med, LLC
 is a Florida limited liability company that was properly formed and organized with
 the Florida Secretary of State in 2010. Hawley Med, LLC filed annual reports as
 required from 2011 through 2017. Hawley Med, LLC maintains its own business
 office, obtained its own federal tax identification number, files its own tax returns,
 has its own bank accounts and has properly identified its registered agent. Hawley
 Med, LLC is a separate and distinct legal entity under Florida law. (Hawley Dec.
 attached as Ex. A, at ¶ 2 and Ex. 1).

                                           3
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  LLC, all taxes from the payment of commissions were claimed and reported solely

  by Hawley Med, LLC, and all obligations therein were assumed and agreed to solely

  by Hawley Med, LLC. (Id. at ¶ 7). The 2014 Hawley Med Agreement terminated no

  later than December 31, 2014 pursuant to section 3.1 as Hawley Med, LLC did not

  receive a thirty (30) day written notice of renewal from the Distributor as set forth

  therein. (Id. at ¶ 9).

         Hawley Med, LLC entered into an Independent Contractor Agreement dated

  January 1, 2015 (“2015 Hawley Med Agreement”) for the sale of NuVasive products

  in Orange County, Florida but with an amended commission structure from the 2014

  Hawley Med Agreement. (Id. at Ex. 4). The 2015 Hawley Med Agreement identifies

  Absolute Medical, Inc. as the “distributor” but was never executed by Absolute

  Medical, LLC or Absolute Medical, Inc. (Id. at ¶ 10). The 2015 Hawley Med

  Agreement specifically identifies Hawley Med, LLC as the contracting party or

  “salesperson”, was executed by Dave Hawley on behalf of Hawley Med, LLC, was

  solely performed by Hawley Med, LLC, all commission payments thereunder were

  made solely to Hawley Med, LLC, all taxes from the payment of commissions were

  claimed and reported solely by Hawley Med, LLC, and all obligations therein were

  assumed and agreed to solely by Hawley Med, LLC. (Id. at ¶ 11). The 2015 Hawley

  Med Agreement terminated no later than December 31, 2015 pursuant to section 3.1




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  as Hawley Med, LLC did not receive a thirty (30) day written notice of renewal from

  the Distributor as set forth therein. (Id. at ¶ 13).

         Hawley Med, LLC entered into an Independent Contractor Agreement dated

  January 1, 2016 (“2016 Hawley Med Agreement”) for the sale of NuVasive products

  in Orange County, Florida but with an amended commission structure from the 2015

  Hawley Med Agreement. (Id. at Ex. 5). The 2016 Hawley Med Agreement identifies

  Absolute Medical, Inc. as the “distributor” but was never executed by Absolute

  Medical, LLC or Absolute Medical, Inc. The 2016 Hawley Med Agreement

  specifically identifies Hawley Med, LLC as the contracting party or “salesperson”,

  was executed by Dave Hawley on behalf of Hawley Med, LLC, was solely

  performed by Hawley Med, LLC, all commission payments thereunder were made

  solely to Hawley Med, LLC, all taxes from the payment of commissions were

  claimed and reported solely by Hawley Med, LLC, and all obligations therein were

  assumed and agreed to solely by Hawley Med, LLC. (Id. at ¶ 15). The 2016 Hawley

  Med Agreement terminated on December 31, 2015 pursuant to section 3.1 and was

  not renewed as Hawley Med, LLC did not receive a thirty (30) day written notice of

  renewal from the Distributor as set forth therein. (Id. at ¶ 17).

         Absolute Medical presented Hawley Med, LLC with an Independent

  Contractor Agreement dated January 1, 2017 (“Proposed 2017 Hawley Med

  Agreement”) for the sale of NuVasive products in Orange County, Florida but with

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  an amended commission structure from the 2016 Hawley Med Agreement. (Id. at

  Ex. 6). Neither Hawley Med, LLC nor Dave Hawley individually ever executed the

  Proposed 2017 Hawley Med Agreement as it objected to the restrictive covenants

  set forth therein and communicated its objection directly to Absolute Medical. (Id.

  at ¶ 18).

         Hawley Med, LLC informed Absolute Medical that it would no longer be

  selling NuVasive products in Orange County, Florida in an email dated November

  30, 2017. At the time of the resignation email, Hawley Med, LLC was not subject to

  any restrictive covenants with Absolute Medical, LLC as it had refused to sign the

  Proposed 2017 Hawley Med Agreement, and the 2016 Hawley Med Agreement

  remained unsigned by Absolute Medical, LLC, was identified as being with

  Absolute Medical, Inc. and according to section 3.1 terminated on December 31,

  2015 with all remaining restrictive covenant requirements expired. At the time of

  the November 30, 2017 resignation email, Dave Hawley individually was not subject

  to any restrictive covenants from Absolute Medical, LLC, NuVasive or Absolute

  Medical, Inc. (Id. at ¶ 19).

                                     Ryan Miller

         In February 2013, Absolute Medical contracted with Defendant Ryan Miller

  under a 2013 Independent Contractor Agreement for the sale of NuVasive product

  in a defined territory in and around central Florida (“2013 Miller Agreement”).

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  (Declaration of Ryan Miller (“Miller Dec.”) at attached hereto as Ex. B, at ¶ 3 and

  Ex. 8.) The 2013 Miller Agreement was executed by Ryan Miller individually and

  all obligations therein were assumed and agreed to by Ryan Miller individually. (Id.

  at ¶ 4). The 2013 Miller Agreement contains no language, express or otherwise, that

  it was made for the benefit of a third-party beneficiary or could be enforced by any

  third-party beneficiary. (Id. at ¶ 5).

         The 2013 Miller Agreement was terminated in 2014 when MillerTime

  Medical, Inc.2 (“MTM”) entered into an Independent Contractor Agreement dated

  January 1, 2014 (“2014 MTM Agreement”) for sale of NuVasive products in central

  Florida but with an amended commission structure from the 2013 Miller Agreement.

  (Id. at Ex. 9.) The 2014 MTM Agreement identifies Absolute Medical, Inc. as the

  “distributor” but was never executed by Absolute Medical, LLC or Absolute

  Medical, Inc. The 2014 MTM Agreement specifically identifies MillerTime

  Medical, Inc. as the contracting party or “salesperson”, was executed by Ryan Miller

  on behalf of MTM, was solely performed by MTM, all commission payments



  2
   Ryan Miller is an officer of MTM. MTM is a Florida for profit company that was
  properly formed and organized with the Florida Secretary of State in 2010. MTM
  filed annual reports as required from 2011 through 2019. MTM maintains its own
  business office, obtained its own federal tax identification number, files its own tax
  returns, has its own bank accounts and has properly identified its registered agent.
  MTM is a separate and distinct legal entity under Florida law. (Miller Dec. attached
  as Ex. B at ¶ 2 and Ex. 7.)

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  thereunder were made solely to MTM, all taxes from the payment of commissions

  were claimed and reported solely by MTM, and all obligations therein were assumed

  and agreed to solely by MTM. (Id. at ¶ 7.) The 2014 MTM Agreement terminated

  no later than December 31, 2014 pursuant to section 3.1 as MTM did not receive a

  thirty (30) day written notice of renewal from the Distributor as set forth therein. (Id.

  at ¶ 9).

         MTM entered into an Independent Contractor Agreement dated January 1,

  2015 (“2015 MTM Agreement”) for the sale of NuVasive products in central Florida

  but with an amended commission structure from the 2014 MTM Agreement. (Id. at

  Ex. 10). The 2015 MTM Agreement identifies Absolute Medical, Inc. as the

  “distributor” but was never executed by Absolute Medical, LLC or Absolute

  Medical, Inc. (Id. at ¶ 10). The 2015 MTM Agreement specifically identifies

  MillerTime Medical, Inc. as the contracting party or “salesperson”, was executed by

  Ryan Miller on behalf of MTM, was solely performed by MTM, all commission

  payments thereunder were made solely to MTM, all taxes from the payment of

  commissions were claimed and reported solely by MTM, and all obligations therein

  were assumed and agreed to solely by MTM. (Id. at ¶ 11). The 2015 MTM

  Agreement terminated no later than December 31, 2015 pursuant to section 3.1 as

  MTM did not receive a thirty (30) day written notice of renewal from the Distributor

  as set forth therein. (Id. at ¶ 13).

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         MTM entered into an Independent Contractor Agreement dated January 1,

  2016 (“2016 MTM Agreement”) for the sale of NuVasive products in central Florida

  but with an amended commission structure from the 2015 MTM Agreement. (Id. at

  Ex. 11). The 2016 MTM Agreement identifies Absolute Medical, Inc. as the

  “distributor” but was never executed by Absolute Medical, LLC or Absolute

  Medical, Inc. (Id. at ¶ 14.) The 2016 MTM Agreement specifically identifies

  MillerTime Medical, Inc. as the contracting party or “salesperson”, was executed by

  Ryan Miller on behalf of MTM, was solely performed by MTM, all commission

  payments thereunder were made solely to MTM, all taxes from the payment of

  commissions were claimed and reported solely by MTM, and all obligations therein

  were assumed and agreed to solely by MTM. (Id. at ¶ 15.) The 2016 MTM

  Agreement terminated on December 31, 2015 pursuant to section 3.1 and was not

  renewed as MTM did not receive a thirty (30) day written notice of renewal from

  the Distributor as set forth therein. (Id. at ¶ 17.)

         Absolute Medical presented MTM with an Independent Contractor

  Agreement dated January 1, 2017 (“Proposed 2017 MTM Agreement”) for the sale

  of NuVasive products in central Florida but with an amended commission structure

  from the 2016 MTM Agreement. (Id. at Ex. 12.) Neither MTM nor Ryan Miller

  individually ever executed the Proposed 2017 MTM Agreement as they objected to




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  the restrictive covenants set forth therein and communicated this objection directly

  to Absolute Medical. (Id. at ¶ 18.)

        MTM informed Absolute Medical, LLC that it would no longer be selling

  NuVasive products in Florida in an email dated November 30, 2017. At the time of

  the resignation email, MTM was not subject to any restrictive covenants with

  Absolute Medical, LLC as it had refused to sign the Proposed 2017 MTM

  Agreement, and the 2016 MTM Agreement remained unsigned by Absolute

  Medical, LLC, was identified as being with Absolute Medical, Inc. and according to

  section 3.1 terminated on December 31, 2015 with all remaining restrictive covenant

  requirements expired. At the time of the November 30, 2017 resignation email, Ryan

  Miller was not subject to any restrictive covenants from Absolute Medical, LLC,

  NuVasive or Absolute Medical, Inc. (Id. at ¶ 19).

                                   Absolute Medical

        In July 2017, NuVasive breached the terms of the 2017 Distributorship

  Agreement by reducing part of Absolute Medical’s exclusive territory and directly

  hiring key sales representatives away from Absolute Medical to promote NuVasive’s

  products within the new annexed territory. (Doc. 38-1, at ¶ 6.) Based on the loss of

  revenue from this annexed territory along with the loss of key sales representatives

  and clients, Absolute Medical determined it was no longer financially feasible to

  continue selling NuVasive’s products. (Doc. 38-1, at ¶ 7.) Absolute Medical

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  provided NuVasive with an email in November 2017, informing NuVasive of its

  desire to terminate the Distributorship Agreement and offering to assist with the

  transition. (Doc. 38-1, at ¶ 8.) After the termination email was sent in November

  2017, Absolute Medical employed a total of two (2) sales representatives. (Doc. 38-

  1, at ¶ 9.) NuVasive responded by email on December 1, 2017, demanding Absolute

  Medical officially release its sales representatives to NuVasive and stating that

  Absolute Medical would not be receiving any commissions through the transition

  process. (Doc. 38-1, at ¶ 10.)

          Absolute Medical permitted NuVasive to directly hire its two remaining sales

  representatives, Thad Bragulla and Brennan Burkhart, and offered to assist with the

  transition. (Doc. 38-1, at ¶ 11.) NuVasive did not respond to the request for transition

  assistance and formally terminated the Distributorship Agreement on December 13,

  2017. (Doc. 38-1, at ¶ 12.) Thereafter, Absolute Medical began the process of

  dissolving and is not conducting any business, other than to wind down its affairs.

  (Id.)

                  ARGUMENT AND CITATION TO AUTHORITY

     I.      Standard of Motion for Summary Judgment.

     Under Fed. R. Civ. P. 56(a), summary judgment is proper "if the movant shows

  that there is no genuine dispute as to any material fact and the movant is entitled to

  judgment as a matter of law." Rule 56(c) mandates the entry of summary judgment

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  against a party who fails to make a showing sufficient to establish the existence of

  an element essential to that party's case, and on which that party will bear the burden

  of proof at trial." Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L.

  Ed. 2d 265 (1986). A dispute about a material fact is genuine "if the evidence is such

  that a reasonable jury could return a verdict for the nonmoving party." Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

     II.    Hawley and Miller are entitled to summary judgment on NuVasive’s

            claims for breach of contract arising from the 2013 Agreements.

     Hawley and Miller are entitled to judgment as a matter of law on NuVasive’s

  claims for breach of the 2013 Hawley Agreement and 2013 Miller Agreement

  (hereinafter collectively, the “2013 ICAs”) as set forth in paragraphs 98 through 105

  of NuVasive’s Second Amended Complaint. Doc. 188, pps. 19-20. NuVasive

  contends that it is entitled to recover “monetary damages against Hawley and Miller”

  for their alleged breach of the 2013 ICAs. Doc. 188, p. 20, ¶ 105. NuVasive also

  contends that it is entitled to temporary, preliminary, and permanent injunctions

  prohibiting Hawley and Miller from violating the 2013 ICAs. Id.

     This entire theory of recovery, however, fails as matter of law due to NuVasive’s

  lack of standing to enforce the 2013 ICAs as NuVasive is not a party to same. In

  Florida, someone who is not a party to a contract may not sue for breach of contract.

  DeCarlo v. Griffin, 827 So. 2d 348, 351-352 (Fla. 4th DCA 2002). That rule applies

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  even where that person or entity receives incidental or consequential benefit from

  the contract. Id. A third party may only seek to enforce a contract where it is an

  intended third-party beneficiary, meaning that the parties to the contract, or the

  contract itself, clearly expresses that the primary intent is to directly benefit the third

  party. Id. Likewise, a third party seeking to enforce the terms of a restrictive

  covenant must be expressly identified as a third-party beneficiary of the contract and

  the contract must expressly state that the restrictive covenant was for the benefit of

  such party. Fla. Stat. § 542.335(1)(f)(1).

     Here, NuVasive is not a party to the 2013 ICAs that it is now attempting to

  enforce. See Hawley Dec. attached as Ex. A, at ¶¶ 3-5, and Ex. 2; Miller Dec.

  attached as Ex. B, at ¶¶ 3-5, and Ex. 8. The 2013 ICAs are with Absolute Medical,

  LLC, and do not refer to NuVasive. Id. The 2013 ICAs do not contain a third-party

  beneficiary clause where NuVasive is expressly identified or that expressly states

  that the restrictive covenants of the 2013 ICAs are for the benefit of NuVasive. Id.

  NuVasive therefore lacks standing to enforce the terms of the 2013 ICAs and is not

  the real party in interest to pursue these claims because it is not a party or a third-

  party beneficiary to the contracts. Accordingly, NuVasive’s breach of contract

  claims fail as a matter of law to the extent they are based on the 2013 ICAs.3


     3
       Hawley and Miller are further entitled to judgment as a matter of law on
  NuVasive’s claims for breach of the 2013 ICAs inasmuch as the 2013 ICAs were
  terminated when Hawley and Miller transitioned to new Independent Contractor
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     III.      Hawley and Miller are entitled to summary judgment on NuVasive’s

               claims for breach of contract under the 2016 Agreements with their

               corporate entities.

               a. Hawley and Miller are entitled to summary judgment on any claims

                  based on the 2016 ICAs as these claims were not asserted in the

                  Complaint and are raised for the first time at the summary judgment

                  stage.

            To the extent that NuVasive’s breach of contract claims are based on the 2016

  Hawley Med. Agreement and 2016 MTM Agreement (collectively, the “2016

  ICAs”), these claims fail given NuVasive’s failure to amend its Complaint to include

  such a theory of recovery. Where a plaintiff seeks to recover based on two contracts,

  two separate counts should be stated under the civil rules. Feutz v. Massachusetts

  Bonding & Ins. Co., 85 F. Supp. 418, 426 (D. Mo. 1949). A claim of liability based

  on a separate contract than one asserted in the complaint must be plead separately in

  the Complaint if plaintiff seeks the court’s consideration. Id. at p. 428. While a party

  does not have to specify each and every possible legal theory of recovery, the



  Agreements in 2014 with Absolute Medical, Inc through their corporate entities.
  Hawley Dec. attached as Ex. A, ¶¶ 6-7 and Ex. 3; Miller Dec. attached as Ex. B at
  ¶¶ 6-7 and Ex. 9. See United Bonding Ins. Co. v. Southeast Regional Builders, Inc.,
  236 So. 2d 460, 462-463 (Fla. 1st DCA 1970); Gilman v. Butzloff, 155 Fla. 888, 891
  (1945).

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  pleadings must at least implicate the relevant legal issues. Schott Motorcycle Supply,

  Inc. v. American Honda Motor Co., 976 F.2d 58, 62 (1st Cir. 1992). While a liberal

  pleading standard is encouraged by Fed. R. Civ. P. 8, plaintiffs are not authorized to

  raise new claims at the summary judgment stage. Gilmour v. Gates, McDonald &

  Co., 382 F. 3d 1312, 1313 (11th Cir. 2004). Instead, where discovery reveals a new

  potential claim, the proper procedure is for the plaintiff to amend its complaint

  pursuant to Fed. R. Civ. P. 15(a). Id. at 1314-1315. See also Klein v. L-3 Communs.

  Corp., 2013 U.S. Dist. LEXIS 15663, *40-42 (S.D. Ala. 2013) (a related claim

  FMLA interference claim based on a different legal theory cannot be raised for the

  first time in summary judgment motion); O’Connor v. Carnahan,2015 U.S. Dist.

  LEXIS 143090, *35-36 (N.D. Fla. 2015)(at summary judgment stage court could

  only consider the theories of liability plead in last amended complaint so that where

  the plaintiff relied on a similar, but new rule at summary judgment, motion was

  denied.); Bentley Motors Corp. v. McEntegart, 976 F. Supp. 2d 1297, 1310 (M.D.

  Fla. 2013) (where plaintiff failed to raise common law trademark infringement claim

  in complaint, it was precluded from summary judgment even though new claim

  involved similar burdens of proof).

        Here, NuVasive is precluded from basing its theory of recovery for breach of

  contract against Hawley and Miller on the 2016 ICAs as this was raised for the first




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  at the summary judgment stage. 4 NuVasive failed to amend its complaint to include

  these new contracts and new legal theories despite the amended case management

  order entered by the Court on or about August 7, 2019. See gen. Doc. 193. As

  addresssed supra, NuVasive is clearly precluded from asserting entirely new claims

  and legal theories at the summary judgment stage. Accordingly, to the extent that its

  breach of contract claim is based on the 2016 ICAs, its claims fail as a matter of law.

            b. Defendants are entitled to summary judgment as to the 2016 ICAs

               inasmuch as Hawley and Miller are individuals separate and distinct

               from their corporate entities.

        NuVasive is precluded from recovering on a breach of contract theory from

  Hawley and Miller as individuals under the 2016 ICAs entered into by Hawley Med,

  LLC and MillerTime, Inc. because they are not parties to the contracts. It is a basic

  concept of law that corporations are separate legal entities from their owners or


  4
    NuVasive filed a Partial Summary Judgment Motion on October 15, 2019 asserting
  for the first time that (1) it is entitled to recover on the 2016 ICAs and that (2) Hawley
  and Miller are personally liable under the 2016 ICAs. See gen. Doc. 195. NuVasive’s
  original complaint filed on December 29, 2017 does not mention or attache the 2016
  ICAs and the count for breach of contract against Hawley and Miller is based solely
  on the 2013 ICAs. Doc. 1. NuVasive had copies and was aware of the 2016 ICAs no
  later than June 2018 as these documents were produced in discovery to NuVasive,
  were identified by Hawley and Miller in written discovery responses and were used
  by both parties as Exhibits at the injunction hearing on June 28, 2018. Docs.79, 81,
  85, and 86. Over a year after possessing the 2016 ICAs, NuVasive filed its Second
  Amended Complaint on July 30, 2019 and it does not mention or attach the 2016
  ICAs and the breach of contract count remained solely based on the 2013 ICAs. Doc.
  188.
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  officers. “The corporate owner/employee, a natural person, is distinct from the

  corporation itself, a legally different entity with different rights and responsibilities

  due to its different legal status.” Cedric Kushner Promotions, Ltd. V. King, 533 U.S.

  158, 163 (2001). “A general principle of corporate law is that a corporation is a

  separate legal entity, distinct from the persons comprising them.” Gasparini v.

  Podormingo, 972 So. 2d 1053, 1055 (Fla. 3d DCA 2008). For that reason, officers

  or owners are not liable for corporate acts simply because of their official

  relationship to the company. Taylor v. Wellington Station Condo. Ass’n, Inc., 633

  So. 2d 43, 45 (Fla. 5th DCA 1994). 5

        In the instant case, the 2016 ICAs expressly name Hawley Med, LLC or Miller

  Time Medical, Inc. as the “salesperson” under the contract. (Hawley Dec. attached

  as Ex. A at Ex. 5; Miller Dec. attached as Ex. B at Ex. 11.) Hawley and Miller

  individually are not identified or directly referred to anywhere in these contracts.

  (Id.) While Hawley and Miller signed the 2016 ICAs, they did so as the authorized

  representatives of each corporate entity and did not intend or agree to be individually




  5
    Florida accepts this fundamental concept and Fla. Stat. § 605.0304(1) provides that
  a “debt, obligation or other liability of a limited liability company is solely the debt,
  obligation, or other liability of the company. A member or manager is not personally
  liable, directly or indirectly of the company solely by reason of being or acting as a
  member or manager.” Similarly, a shareholder or director is not personally liable for
  damages absent a breach of duty or impropriety. See Fla. Stat. § 607.0831.

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  bound. (Id.) Thus, Defendants are entitled to judgment as a matter of law on any

  claims of individual liability under the 2016 ICAs.

            c. Hawley and Miller are entitled to judgment as a matter of law as to the

               2016 ICAs as this court may not fill in the blanks to change the

               deficiencies in the contract as written.

        This Court is precluded from re-writing the parties’ contract to give a different

  legal effect than that expressed within the four corners of the contracts themselves.

  Hawley and Miller are entitled to judgment as a matter at law inasmuch as the 2016

  ICAs have a blank space where the individual “Principal” could have been

  identified. (Hawley Dec. attached as Ex. A at Ex. 5; Miller Dec. attached as Ex. B at

  Ex. 11.) NuVasive argues the 2016 ICAs bind the individual “Principal” where the

  “Salesperson” is an entity. Section 4.1 of the 2016 ICAs attempts to provide joint

  and several liability to both the named entity and the individual “Principal” identified

  in the introductory paragraph. (Hawley Dec. attached as Ex. A at Ex. 5; Miller Dec.

  attached as Ex. B at Ex. 11.) However, in both 2016 ICAs, the space wherein the

  individual “Principal” should have been identified were left intentionally blank.

  (Hawley Dec. attached as Ex. A at Ex. 5; Miller Dec. attached as Ex. B at Ex. 11.)

        It is well settled in Florida, “courts may not rewrite a contract to interfere with

  the freedom of contract or substitute their judgment for that of the parties thereto in

  order to relieve one of the parties from the apparent hardship of an improvident

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  bargain.” Home Development Co. v. Bursani, 178 So. 2d 113, 117 (Fla. 1965) citing

  to Beach Resort Hotel Corporation v. Wieder, 79 So. 2d 659 (Fla. 1955). Thus, when

  competent parties put their agreement into writings to create a binding obligation, it

  is presumed that the writing itself is the best evidence of what they meant. Bursani,

  at p. 118. “As a basic proposition of law, clear and unambiguous language of a

  contract should be given no meaning other than that expressed therein and should be

  enforced in accordance with its terms. Board of Public Instruction v. Fred Howland,

  Inc., 243 So. 2d 221, 223 (Fla. 3rd DCA 1963).6

        In the instant case, the introductory paragraph of the 2016 ICAs include a

  blank space for the parties to fill in themselves in order to identify an individual

  “Principal” who is to be bound jointly with the signing entities. (Hawley Dec.

  attached as Ex. A at Ex. 5; Miller Dec. attached as Ex. B at Ex. 11.) However, in

  both 2016 ICAs, the blank space was left empty. (Hawley Dec. attached as Ex. A at



  6
    Where any ambiguities are found, such ambiguity “must exist on the face of the
  document itself before extrinsic matters may be considered by the court.” Boat Town
  U.S.A., Inc. v. Mercury Marine Div. of Brunswick Corp., 364 So. 2d 15, 17 (Fla. 4th
  DCA 1978). Moreover, the existence of an integration or merger clause is a highly
  persuasive statement that the parties intended for the written agreement to be the
  final statement of their intent and to preclude parol evidence to vary the terms as
  written. Jenkins v. Eckerd Corp.,913 So.2d 43, 53 (Fla. 1st DCA 2005). See also
  Florida School-Book Depository, Inc. v. Liddon, 114 Fla. 149, 152 (1934) (a written
  contract with a literal blank space for the parties to supply a name held unenforceable
  as it would amount to the court’s reformation of a material part of the obligation that
  the parties had a duty to make themselves.)

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  Ex. 5; Miller Dec. attached as Ex. B at Ex. 11.) This is a patent ambiguity and parol

  evidence may not be used to explain the deficiency. See Liddon, at p. 152. Thus, this

  Court is precluded from looking at evidence outside the four corners of the 2016

  ICAs to identify a party to post hoc bind to the contracts. Accordingly, for this

  additional reason, Defendants Hawley and Miller are entitled to judgment as a matter

  of law as to the 2016 ICAs.

           d. Hawley and Miller are entitled to summary judgment inasmuch as the

               2016 ICAs are subject to strict construction pursuant to Fla. Stat. §

               542.335.

        Fla. Stat. § 542.335(1)(a) provides that a court may not enforce a restrictive

  covenant “unless it is set forth in a writing signed by the person against whom

  enforcement is sought”. While it is true that Hawley and Miller’s signatures are

  affixed to the 2016 ICAs, it is disingenuous at best to argue that they are therefore

  individually bound. As discussed extensively, supra, individual officers, owners, or

  directors are separate and distinct from their corporation. The signatures of Hawley

  and Miller are clearly corporate signatures as evidenced by the reference to their

  “title” within the companies. (Hawley Dec. attached as Ex. A at Ex. 5; Miller Dec.

  attached as Ex. B at Ex. 11.) As such, to the extent that NuVasive seeks to recover

  against Hawley and Miller individually simply because they affixed their signature

  as corporate representatives, the argument must fail.

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     IV.   Hawley and AMS are entitled to summary judgment on NuVasive’s claim

           of conversion.

     NuVasive’s claim for conversion is based on its theory that Hawley, or some

  Absolute Medical Systems, LLC (“AMS”) representative, took possession of a

  custom instrument on May 24, 2018 at Florida Hospital Orlando that was

  subsequently sterilized and prepared to be used in surgery.” Doc. 188, p. 13, at ¶ 62.

  NuVasive, however, produces no evidence to support this theory and its claim must

  fail. A conversion lies when a party wrongfully asserts dominion over another

  persons’ property, essentially it “deprives another of his property permanently or for

  an indefinite time.” Special Purpose Accounts Receivable Coop. Corp. v. Prime One

  Capital Co., 125 F. Supp. 2d 1093, 1099 (S.D. Fla. 2000) citing to Burger King

  Corp. v. Austin, 805 F. Supp. 1007, 1012 (S. D. Fla. 1992). Thus, the three necessary

  elements to establish conversion are (1) a wrongful act of dominion (2) over

  another’s property that (3) is inconsistent with their ownership. Star Fruit Co. v.

  Eagle Lake Growers, Inc., 33 So. 2d 858, 860 (Fla. 1948).

     In the instant case, NuVasive contends that Dave Hawley or AMS converted and

  utilized custom instrumentation belonging to NuVasive in a surgery at Florida

  Hospital Orlando on or about May 24, 2018. Doc. 188, at ¶¶ 62, 106-108. In support

  of this claim NuVasive attached the declaration of one if its sales representatives,

  Thad Bragulla, alleging that he discovered the custom NuVasive instrumentation in

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  a wrapped box outside a surgery room at Florida Hospital Orlando. (Doc. 38-1, at ¶

  11.) However, during his deposition, Mr. Bragulla admitted that he had no

  knowledge or evidence of Dave Hawley or anyone else affiliated with AMS

  possessing, setting up, converting or utilizing the custom NuVasive instruments in

  any surgical procedure. See Thad Bragulla Deposition, attached as Ex. D, at pg. 46,

  lines 13-21; pg. 47, lines 16-18; pg. 52, lines 17-24; pg. 59, lines 8-14). Furthermore,

  NuVasive admitted in its 30(b)(6) deposition that it has no evidence that either Dave

  Hawley (or AMS) used or converted the custom NuVasive instrumentation

  photographed by Thad Bragulla on or about May 24, 2018 at the Florida Regional

  Hospital Orlando. (See Deposition of John A. English, NuVasive 30(b)(6)

  representative pg. 19, lines 6-19 attached as Ex. C.) In stark contrast, Hawley

  confirms neither he or anyone with AMS ever “possessed, used, copied, prepared

  for surgery or converted any NuVasive instrument or equipment for personal or

  business use”. Hawley Dec. attached as Ex. A, at ¶ 20. With no evidence to support

  its theory, NuVasive’s conversion claim fails as a matter of law.

                                     CONCLUSION

        For the foregoing reasons, Defendants Hawley and Miller request summary

  judgment in their favor on NuVasive’s breach of contract claims. Likewise, Hawley

  and AMS request summary judgment in their favor on NuVasive’s conversion claim.



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  The evidence in the record does not establish NuVasive’s right to recover on either

  claim and summary judgment in favor of Defendants is proper.

  Dated: October 18, 2019
                                        Respectfully

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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 18, 2019, I electronically filed the
  foregoing with the Clerk of the Court utilizing the CM/ECF system. I further certify
  that I electronically transmitted a true copy to:

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                                EXHIBIT INDEX


  Exhibit A- Declaration of Dave Hawley and All Exhibits Thereto
  Exhibit B- Declaration of Ryan Miller and All Exhibits Thereto
  Exhibit C- Deposition Transcript of NuVasive, Inc. Corporate Rep
  Exihibit D- Deposition Transcript of Thad Bragulla
